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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-353 MCE
12                                 Plaintiff,             STIPULATION TO CONTINUE
                                                          STATUS CONFERENCE AND
13          v.                                            REGARDING EXCLUDABLE TIME
                                                          PERIODS UNDER SPEEDY TRIAL
14   SEAN MCCLENDON,                                      ACT; REQUEST TO SET CHANGE
                                                          OF PLEA FOR DEFENDANT
15   ANTHONY SALCEDO, and                                 WILLIAMS; FINDINGS AND
                                                          ORDER THEREON
16   ANTHONY WILLIAMS
17                                 Defendants,
18

19                                               STIPULATION
20          Plaintiff United States of America, by and through its counsel of record, and defendants
21 SEAN MCCLENDON and ANTHONY SALCEDO, by and through their respective counsel of

22 record, hereby stipulate as follows:

23          1.       By previous order, this matter was set for status on September 27, 2012.
24          2.       By this stipulation, defendants now moves to continue the status conference until
25                   October 25, 2012 and to exclude time between September 27, 2012 and October 25,
26                   2012 under Local Code T4. Plaintiff does not oppose this request.
27          3.       The parties agree and stipulate, and request that the Court find the following:
28                   a.     The government has represented that the discovery associated with this case
                                                     1
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 1             includes several thousand pages of documents relating to mortgage loans on

 2             various properties as well as numerous memoranda of interviews with straw

 3             purchasers and other witnesses, including defendants. All of this discovery

 4             has been either produced directly to counsel and/or made available for

 5             inspection and copying.

 6       b.    On September 6, 2012, defendant McClendon substituted in counsel Donald

 7             H. Heller for his prior counsel. Mr. Heller represents that he is unable to turn

 8             immediately to this case and review of the discovery in light of his current

 9             involvement in a state multi-defendant murder case. He anticipates being able

10             to turn to this case in late September or early October for concerted review of

11             the discovery. Mr. Beevers, for Mr. Salcedo, represents that he is reviewing

12             the law and the discovery with his client in pursuit of a negotiated resolution

13             of the case. Counsel for these defendants desire additional time in light of

14             these current obligations and efforts.

15       c.    Counsel for defendants believe that failure to grant the above-requested

16             continuance would deny them the reasonable time necessary for effective

17             preparation, taking into account the exercise of due diligence.

18       d.    The government does not object to the continuance.

19       e.    Based on the above-stated findings, the ends of justice served by continuing

20             the case as requested outweigh the interest of the public and the defendant in a

21             trial within the original date prescribed by the Speedy Trial Act.

22       f.    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

23             3161, et seq., within which trial must commence, the time period of

24             September 27, 2012 to October 25, 2012, inclusive, is deemed excludable

25             pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

26             results from a continuance granted by the Court at defendant’s request on the

27             basis of the Court's finding that the ends of justice served by taking such

28             action outweigh the best interest of the public and the defendant in a speedy
                                           2
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 1                         trial.

 2         4.       Nothing in this stipulation and order shall preclude a finding that other provisions of

 3                  the Speedy Trial Act dictate that additional time periods are excludable from the

 4                  period within which a trial must commence.

 5         5.       Defendant Williams, through his counsel, has indicated that he would like to enter a

 6                  change of plea on the date currently set for status conference, i.e., September 27,

 7                  2012, and he and the Government therefore jointly request the matter be retained on

 8                  calendar as to defendant Williams only and for purposes of entering a change of plea.

 9 IT IS SO STIPULATED.

10
     Dated: September 18, 2012                        BENJAMIN B. WAGNER
11                                                    United States Attorney
12
                                                      /s/ Jean M. Hobler
13                                                    JEAN M. HOBLER
                                                      Assistant U.S. Attorney
14

15 Dated: September 18, 2012
                                                      /s/ Donald H. Heller
16                                                    DONALD H. HELLER
                                                      Counsel for Defendant SEAN MCCLENDON
17

18 Dated: September 18, 2012
                                                      /s/ Douglas Beevers
19                                                    DOUGLAS BEEVERS
                                                      Counsel for Defendant ANTHONY SALCEDO
20
     Dated: September 18, 2012
21                                                    /s/ Scott Cameron
                                                      SCOTT CAMERON
22                                                    Counsel for Defendant ANTHONY WILLIAMS
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 1

 2                                              ORDER
 3
            IT IS SO FOUND AND ORDERED . The status conference in this matter previously set for
 4
     September 27, 2012 is hereby continued to October 25, 2012 at 9:00 a.m. in Courtroom No. 7.
 5

 6 Dated: September 25, 2012

 7                                          __________________________________
 8                                          MORRISON C. ENGLAND, JR
                                            UNITED STATES DISTRICT JUDGE
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